                Case 19-22952-RAM             Doc 39     Filed 05/22/20      Page 1 of 1


                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                          www.flsb.uscourts.gov

In re:                                                    Case No.: 19-22952-RAM
                                                          Chapter 13
         Maria E Mejia
                  Debtor(s)               /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended. Upon the filing of this objection an expedited hearing on this
objection will be scheduled on the date already scheduled for the confirmation
hearing in accordance with Local Rule 3007-1(B)(2).

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:
Claim                                                             Amount of
No.              Name of Claimant                                 Claim

15               LVNV Funding, LLC /                              $234.14
                 Resurgent Capital Services


Basis for Objection and Recommended Disposition

On or about December 5, 2019, Creditor filed a general unsecured proof of claim in the amount of $234.14 for
an account ending in 2675 for a telecom account. This debt is not listed on the Debtor’s schedule “F”, which
was obtained from the Debtor’s credit report. Further, this creditor has failed to attach any substantiating
backup documentation to prove its claim. The backup documentation attached indicates this debt was last
active on or about January 1, 2000. Therefore, this claim is also barred by the Statute of Limitations.
Therefore, this claim should be stricken and disallowed.
Debtor has incurred reasonable and necessary attorney’s fees and costs for Debtor’s counsel to file this
Objection to Claim in response to Creditor’s filing of an incorrect and/or improper Proof of Claim, and
therefore, respectfully requests this Court award reasonable attorney’s fees and costs to Debtor’s counsel.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

DATED: May 22, 2020                              Respectfully Submitted:
                                                 Robert Sanchez, P.A.
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                                                 Hialeah, FL 33012
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